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                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                                CHAPTER 13 CASE NO.:

ELIZABETH MACK                                                                    21-10487-JDW

         OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN (DKT. #5)

       COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the "Trustee"), by and through

counsel, after reviewing the voluntary petition (the "Petition"), Schedules, Statement of Financial

Affairs, and conducting the Section 341(a) Meeting of Creditors, and files this Objection to

Confirmation of Chapter 13 Plan (the "Objection"), and in support thereof states as follows:

       1.      The Debtor commenced this proceeding by filing a voluntary petition on March 12,

2021 (the "Petition Date"). The Debtor filed a proposed Chapter 13 Plan (Dkt. #5) (the "Plan") on

the Petition Date.

       2.      The Debtor is below median income, and the proposed term of the Plan is sixty (60)

months. The Plan provides that nonpriority unsecured creditors shall be paid in full. The

liquidation value in Section 5.1 of the Plan is $50,000.

       3.      The Plan fails to comply with 11 U.S.C. § 1325(a)(1). Section 3.1(a) of the Plan

provides that the ongoing mortgage payments shall be paid beginning in June 2021 to 21st

Mortgage. However, the Plan will not be sufficiently funded to allow for the disbursement to 21st

Mortgage and all other creditors at confirmation because of the delinquency in plan payments in

the amount of $2,124.00 as of May 2021.

       4.      The Debtor should timely remit all plan payments due under the Plan prior to the

hearing, or the case should be dismissed for failure to comply with the proposed Plan.




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        5.     For the reasons set forth herein, the Trustee submits that confirmation of the Plan

should be denied, and the case should be dismissed.

        WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which the Trustee and this bankruptcy estate may be

entitled.

        Dated: June 1, 2021.

                                       Respectfully submitted,

                                       LOCKE D. BARKLEY
                                       CHAPTER 13 TRUSTEE

                               BY:     /s/ Melanie T. Vardaman
                                       ATTORNEYS FOR TRUSTEE
                                       W. Jeffrey Collier (MSB 10645)
                                       Melanie T. Vardaman (MSB 100392)
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system. I hereby certify that I either mailed
by United States Postal Service, first-class, postage prepaid, or electronically notified through the
CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the Debtor, the
United States Trustee, and other parties in interest, if any, as identified below.

        Dated: June 1, 2021.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




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